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                        Exhibit 2-1

           Class 3 General Unsecured Claim Ballot
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re                                                            Chapter 11

                                                                 Case No. 23-10831 (MFW)
Lordstown Motors Corp., et al., 1
                                                                 (Jointly Administered)
                                           Debtors.



        BALLOT FOR VOTING TO ACCEPT OR REJECT THE MODIFIED FIRST
        AMENDED JOINT CHAPTER 11 PLAN OF LORDSTOWN MOTORS CORP.
                       AND ITS AFFILIATED DEBTORS

                          CLASS 3 – GENERAL UNSECURED CLAIMS
PLEASE CAREFULLY READ THE ENCLOSED INSTRUCTIONS FOR COMPLETING
THIS BALLOT BEFORE COMPLETING THIS BALLOT.

THIS BALLOT MUST BE COMPLETED, EXECUTED AND RETURNED SO THAT IT
IS ACTUALLY RECEIVED BY THE DEBTORS’ SOLICITATION AGENT ON OR
BEFORE DECEMBER 12, 2023 AT 5:00 P.M. (PREVAILING EASTERN TIME) (THE
“VOTING DEADLINE”). IF THIS BALLOT IS NOT PROPERLY COMPLETED,
SIGNED AND RECEIVED BY THE SOLICITATION AGENT ON OR BEFORE THE
VOTING DEADLINE, THEN THE VOTES TRANSMITTED BY THIS BALLOT WILL
NOT BE COUNTED.

ACCESS TO SOLICITATION MATERIALS:

THE PLAN, DISCLOSURE STATEMENT, AND DISCLOSURE STATEMENT ORDER,
INCLUDING THE ATTACHED SOLICITATION PROCEDURES AND OTHER
EXHIBITS,    MAY   BE    ACCESSED,    FREE   OF    CHARGE   AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN      BY   CLICKING   ON   THE
“SOLICITATION MATERIALS” TAB ON THE HOME PAGE.

YOU CAN ALSO REQUEST, FREE OF CHARGE, COPIES IN PAPER OR FLASH
DRIVE FORMAT OF ANY SOLICITATION PACKAGE MATERIALS BY (A)
CALLING THE DEBTORS’ TOLL-FREE RESTRUCTURING HOTLINE AT (877) 709-
4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL); (B) VISITING THE
DEBTORS’             RESTRUCTURING              WEBSITE             AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN; (C) WRITING TO LORDSTOWN
PROCESSING CENTER, C/O KURTZMAN CARSON CONSULTANTS, 222 N.

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
    Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
    address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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PACIFIC COAST HIGHWAY, SUITE 300, EL SEGUNDO, CA 90245 (D) EMAILING
LORDSTOWNINFO@KCCLLC.COM (WITH ‘LORDSTOWN’ IN THE SUBJECT
LINE). AS SOON AS REASONABLY PRACTICABLE AFTER RECEIVING SUCH A
REQUEST, THE SOLICITATION AGENT WILL PROVIDE YOU WITH THE COPIES
YOU REQUESTED.

IF YOU VOTE TO ACCEPT THE PLAN, YOU WILL BE RELEASING THE
RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION TO THE
EXTENT PROVIDED IN ARTICLE VIII.D OF THE PLAN AND YOU WILL BE
IRREVOCABLY BOUND BY SUCH RELEASES. IF YOU VOTE TO REJECT THE
PLAN, YOU MAY OPT IN TO SUCH RELEASES ONLY IF YOU INDICATE SUCH
OPT IN ON THE BALLOT. IF YOU DO NOT RETURN THE BALLOT OR ABSTAIN
FROM VOTING ON THE PLAN, YOU WILL NOT BE BOUND BY THE RELEASES.


        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
have sent you this ballot (the “Ballot”) because our records indicate that you are a Holder of a
General Unsecured Claim in Class 3 (a “General Unsecured Claim”) against the Debtors as of
October 31, 2023 (the “Voting Record Date”). 2 As such, you have a right to vote to accept or
reject the Modified First Amended Joint Chapter 11 Plan of Lordstown Motors Corp. and Its
Affiliated Debtors, filed on [●], 2023 [D.I. [●]] (together with all schedules and exhibits thereto,
and as may be amended, modified, or supplemented, the “Plan”). 3

        The rights of Holders of General Unsecured Claims are described in the Debtors’
Disclosure Statement Pursuant to 11 U.S.C. § 1125 with Respect to Modified First Amended
Joint Chapter 11 Plan of Lordstown Motors Corp. and Its Affiliated Debtors [D.I. [●]] (together
with all schedules and exhibits thereto, and as may be amended, modified, or supplemented from
time to time, the “Disclosure Statement”). On [●], 2023, the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”) entered an order (the “Disclosure
Statement Order”) approving (i) the Disclosure Statement as containing adequate information
under section 1125 of the Bankruptcy Code and (ii) the procedures for soliciting votes to accept
or reject the Plan (the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure
Statement does not indicate approval of the Plan by the Bankruptcy Court. This Ballot may not
be used for any purpose other than for casting votes to accept or reject the Plan, making
certain certifications with respect to the Plan, and opting in to certain releases under the
Plan. If you believe that you have received this Ballot in error, or if you believe that you
have received the wrong Ballot, please contact the Solicitation Agent immediately at the
address, telephone number, or email address set forth above.


2
    If your Claim is subject to an objection other than a “reclassify” or “reduce and allow” objection that is filed
    with the Bankruptcy Court on or prior to the Solicitation Date, and you have sought to challenge the
    disallowance or estimation of your claim by timely filing a motion for an order, pursuant to Bankruptcy Rule
    3018(a) in accordance with the Solicitation Procedures, you should complete and return this Ballot by the
    Voting Deadline, however, your vote will only be counted to the extent that a Voting Resolution Event has
    occurred with respect to your Claim by the Voting Resolution Event Deadline.
3
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.

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        You are receiving along with this Ballot, (i) a cover letter describing the contents of the
Solicitation Package and providing instructions to obtain access electronically, free of charge, to
the Plan, Disclosure Statement and Disclosure Statement Order, including the Solicitation
Procedures and other exhibits, at the Debtors’ restructuring website (electronic access described
above), and instructions for obtaining (free of charge) additional copies of the materials provided
in electronic format by contacting the Solicitation Agent, and urging the Holders of Claims and
Interests in each of the Voting Classes to vote to accept the Plan; (ii) the Notice of (I) Approval
of Disclosure Statement, (II) Establishing Voting Record Date, (III) Hearing on Confirmation of
the Proposed Plan, (IV) Procedures for Objecting to the Confirmation of the Proposed Plan, and
(V) Procedures and Deadline for Voting on the Proposed Plan; and (iii) instructions that will
direct you to the solicitation section of the Debtors’ restructuring website, where all of the
materials contained in the Solicitation Packages are located, including the Disclosure Statement
and all filed exhibits thereto, including the Plan, and the Disclosure Statement Order and all
exhibits thereto.

       If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must
complete, sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

        As a Holder of an impaired Claim or Interest under the Plan, if you vote to accept
the Plan, you consent to providing the releases contained in Article VIII.D of the Plan. As
set forth below, if you reject the Plan and affirmatively opt in to the release provision of the
Plan by checking the applicable box on your Ballot below, you will be deemed to consent to
providing the releases contained in Article VIII.D of the Plan. You will only be provided
with the option to opt in to the releases in Article VIII.D of the Plan if you vote to reject the
Plan. For the avoidance of any doubt, if you vote to accept the Plan you will be
automatically agreeing to consent to the releases contained in Article VIII.D, you will not
be provided with a separate option to opt in or out of such releases, and the opt-in option
on the Ballot will not be applicable to you. If you do not return the ballot or abstain from
voting, you will not be bound by the releases contained in Article VIII.D of the Plan. Please
be advised that the Plan also contains certain other release, injunction and exculpation
provisions. If the Plan is confirmed by the Bankruptcy Court, these sections will be
binding on you whether or not you decide to opt in to the releases in Article VIII.D of the
Plan. For a full description of these provisions, see Article IV.H of the Disclosure
Statement and Article VIII of the Plan.

       You should review the Disclosure Statement and the Plan before you vote. You may
wish to seek legal advice concerning the Plan and the Plan’s classification and treatment of
your Claim or Interest. Your Claim has been placed in Class 3 (General Unsecured
Claims) under the Plan. If you hold Claims or Interests in more than one Class, you will
receive a ballot for each Class in which you are entitled to vote.

        If the Solicitation Agent does not receive this Ballot on or before the Voting Deadline,
which is December 12, 2023 at 5:00 p.m. (prevailing Eastern Time), and if the Voting
Deadline is not extended, the vote included in this Ballot will not count. You may submit the
Ballot by (1) e-Ballot platform, (2) standard mail, (3) overnight mail, or (4) personal delivery, so
that it is actually received, in each case, by the Solicitation Agent no later than the Voting

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Deadline. Specifically, each Ballot must be returned as follows:

          If by E-Ballot Platform:                If by standard or overnight mail or personal
                                                                    delivery:
     https://www.kccllc.net/lordstown
Click “Submit Electronic Ballot (E-Ballot)”               Lordstown Processing Center
                and use the                          c/o Kurtzman Carson Consultants LLC
        E-ballot ID provided below                  222 N. Pacific Coast Highway, Suite 300
                                                             El Segundo, CA 90245

     THE DEBTORS AND THE SOLICITATION AGENT ARE NOT AUTHORIZED
TO PROVIDE, AND WILL NOT PROVIDE, LEGAL ADVICE.




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                                          BALLOT

PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
BEFORE COMPLETING THIS BALLOT.

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY COMPLETED, YOUR VOTE MAY NOT BE VALID OR COUNTED
AS HAVING BEEN CAST.


Item 1. Principal Amount of General Unsecured Claim.

        The undersigned hereby certifies that as of the Voting Record Date, [●], the undersigned
was the Holder of a Class 3 General Unsecured Claim in the following principal amount(s)
against the following Debtor for voting purposes only, without regard to any accrued but unpaid
interest:


                   Amount of Claim: $___________________

                   Debtor:

                   Lordstown Motors Corp. ☐
                   Lordstown EV Sales LLC ☐
                   Lordstown EV Corporation ☐



FOR THE AVOIDANCE OF DOUBT, EXCEPT AS OTHERWISE MAY BE SET
FORTH IN THE DISCLOSURE STATEMENT AND DISCLOSURE STATEMENT
ORDER, CONTINGENT AND/OR UNLIQUIDATED CLAIMS, INCLUDING ALL
LITIGATION CLAIMS, HAVE BEEN TEMPORARILY ALLOWED IN THE AMOUNT
OF ONE DOLLAR ($1.00) FOR VOTING PURPOSES ONLY, AND NOT FOR
DISTRIBUTION, ALLOWANCE, OR ANY OTHER PURPOSE.

Item 2. Class 3 General Unsecured Claim(s) Vote on the Plan.

       The undersigned, a Holder of the Class 3 General Unsecured Claim(s) against the
Debtor(s), set forth in Item 1, votes to accept or reject the Plan (check only one box below):




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               ACCEPT THE PLAN                                                REJECT THE PLAN



By voting to accept the Plan you are consenting
 to being a Releasing Party with respect to the
   Third Party Release contained in the Plan.


Item 3. Releases by Holders of Claims and Interests.

      The undersigned, as a Holder (or representative of a Holder of) a Class 3 General
Unsecured Claim, elects to:

       Opt In to the Third Party Release and Release Such Holder’s Claims in Accordance with
                                     Article VIII.D of the Plan

     ONLY APPLICABLE IF YOU VOTE TO REJECT THE PLAN. IF YOU VOTE
TO ACCEPT THE PLAN, YOU WILL ALSO BE CONSENTING TO THE RELEASE
BELOW CONTAINED IN ARTICLE VIII.D OF THE PLAN REGARDLESS OF
WHETHER YOU CHECK THE ABOVE BOX OR NOT.

    IF YOU VOTE TO REJECT THE PLAN, YOU ARE ENTITLED TO OPT IN TO
THE RELEASE BELOW CONTAINED IN ARTICLE VIII.D OF THE PLAN BY
CHECKING THE BOX IN ITEM 3 OF THIS BALLOT.

                 NOTICE REGARDING CERTAIN RELEASE, EXCULPATION
                      AND INJUNCTION PROVISIONS IN THE PLAN

       If you vote to reject the Plan AND opt in to the Releases by Holders of Claims and
Interests as set forth below, you will be bound by the releases in Article VIII.D of the Plan,
which provide as follows:

D.       Releases by Holders of Claims and Interests

      As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party 4 shall be deemed to have conclusively,
4
  “Releasing Party” means each of the following in their capacity as such: (i) all Holders of Claims or Interests that
vote to accept the Plan; (ii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject
the Plan and opt in to the third party releases provided for in Article VIII.D by checking the box on the applicable
Ballot or form indicating that they opt in to granting such releases in the Plan submitted on or before the Voting
Deadline; and (iii) with respect to each of the foregoing Entities in clauses (i) and (ii), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors, managers,
officers, predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, managed accounts or funds, management companies, fund advisors,
investment bankers, consultants, representatives, and other professionals, each in its capacity as such; provided,
however, that the Entities identified in part (iii) shall be Releasing Parties only to the extent the corresponding
Entities in parts (i) and (ii) are legally able to bind such Entities in part (iii) to the releases contained in the Plan

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absolutely, unconditionally, irrevocably, and forever released, waived, and discharged each
Debtor, Post-Effective Date Debtor, and other Released Party 5 from any and all Claims,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever
(in each case, whether prepetition or postpetition), including any derivative Claims
asserted or that may be asserted on behalf of the Debtors or their Estates, that such Entity
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors or the conduct of their business (in each case, whether prepetition or postpetition),
the formulation, preparation, dissemination, or negotiation of the Plan, the Disclosure
Statement, any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases,
the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the distribution of property under the Plan, or any
other related agreement, or upon any other act or omission, transaction, agreement, event,
or other occurrence taking place on or before the Effective Date (in each case, whether
prepetition or postpetition) related or relating to the foregoing. Without limiting the
generality of the foregoing, and subject to the paragraph directly below, pursuant to the
Releases set forth in this Article VIII.D, each Releasing Party shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged each Released Party from any Claims related to or asserted in the Putative
Class Actions (which actions include, for the avoidance of any doubt, the Ohio Securities
Class Action, the Delaware Shareholder Class Action, and the Post-Petition Securities
Action). Notwithstanding anything to the contrary in the foregoing, the releases set forth in
this Article VIII.D shall not be construed as (i) releasing any Released Party from Claims
or Causes of Action arising from an act or omission that is judicially determined by a Final
Order to have constituted actual fraud, willful misconduct, or gross negligence,
(ii) releasing any timely filed Proof of Claim (as may be validly amended under the Plan or
as maybe permitted by the Bankruptcy Code and Bankruptcy Rules) or any post-Effective
Date obligations of or under (A) any party or Entity under the Plan, (B) any Executory
Contract or Unexpired Lease to the extent such Executory Contract or Unexpired Lease
has been assumed by the Debtors pursuant to Final Order, or (C) any document,
instrument, or agreement executed to implement the Plan, or (iii) releasing any rights to

under applicable law; provided, further, that, subject to the terms of Article VIII.D, the Putative Class Action
Representatives shall not be deemed to be Releasing Parties.
5
  “Released Party” means each of the following in their capacity as such: (i) the Debtors; (ii) the Post-Effective Date
Debtors; (iii) each of the Debtors’ Estates; (iv) the UCC, (v) each of the UCC Members, solely in its capacity as a
UCC Member; (vi) the EC; (vii) each of the EC Members, solely in its capacity as an EC Member; and (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), their respective current and former officers,
directors, employees, attorneys, accountants, investment bankers, consultants and other professionals other than
Excluded Parties, each in its capacity as such; provided that, notwithstanding anything in the foregoing, any Person
or Entity that is an Excluded Party shall not be a Released Party; provided further that, notwithstanding anything in
the foregoing, any Person or Entity that is entitled to vote on the Plan but does not vote to accept the Plan or
otherwise opt in to the releases shall not be a Released Party.
“Excluded Parties” means Foxconn and the Former Directors and Officers.

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distributions required to be paid or delivered pursuant to the Plan or the Confirmation
Order.

        Notwithstanding anything to the contrary in the preceding paragraph, the Putative
Class Action Representatives shall not be deemed to constitute Releasing Parties; provided,
that the Debtors do not concede that the certification of a class is appropriate in any of the
Putative Class Actions and the exclusion of the Putative Class Action Representatives from
the releases set forth herein shall not constitute an admission by any Person or Entity,
including the Debtors, that a class is appropriate in any of the Putative Class Actions;
provided further, that the Debtors do not concede that the exclusion of the Putative Class
Action Representatives from the releases set forth herein in any way binds the other
members of any putative class or in any way affects the decision of any such putative class
members to be a Releasing Party and grant the releases set forth herein. All of the rights of
the Debtors, the Putative Class Action Representatives and any other party in connection
with the potential certification of any putative class and/or the granting of releases are
expressly reserved in all respects. If the exclusion of the Putative Class Action
Representative from the releases set forth herein does not bind other class members (as is
the Debtors’ contention), each such class member that is a Releasing Party under the terms
of the Plan shall be deemed to have conclusively, absolutely, unconditionally, irrevocably,
and forever released, waived, and discharged each Released Party from any Claims related
to or asserted in the Putative Class Actions (which actions include, for the avoidance of any
doubt, the Ohio Securities Class Action, the Delaware Shareholder Class Action, and the
Post-Petition Securities Action).

       Additionally, notwithstanding anything to the contrary in the Plan or the
Confirmation Order, nothing herein or therein does, shall, or may be construed to release,
the Debtors or bar the assertion of claims against them as nominal defendants in the Post-
Petition Securities Action for purposes of preserving and enforcing rights to coverage
under and recovery of the proceeds of the D&O Liability Insurance Policies.

Article VIII of the Plan also contains the following provisions:

       C.     Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), on behalf of themselves and their respective Estates, including, without
limitation, any successor to the Debtors or any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged the Released Parties from any and all Claims, Interests, obligations, rights,
suits, damages, Causes of Action, remedies, and liabilities whatsoever, in each case,
whether prepetition or postpetition (including any derivative Claims asserted or that may
be asserted on behalf of the Debtors or their Estates), whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based

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on or relating to, or in any manner arising from, in whole or in part, the Debtors or the
conduct of their business (in each case, whether prepetition or postpetition), the
formulation, preparation, dissemination, negotiation of the Plan, the Disclosure Statement,
any contract, instrument, release, or other agreement or document created or entered into
in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
Plan, including the distribution of property under the Plan, or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date (in each case, whether prepetition
or postpetition) related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article VIII.C shall not release
(i) any Released Party from Claims or Causes of Action arising from an act or omission
that is judicially determined by a Final Order to have constituted actual fraud, willful
misconduct, or gross negligence, or (ii) any post-Effective Date obligations of any party or
Entity under the Plan or any document, instrument, or agreement executed to implement
the Plan.

         E.        Exculpation

        Except as otherwise specifically provided in the Plan, no Exculpated Party 6 shall
have or incur liability for, and each Exculpated Party is hereby exculpated from, any
Cause of Action for any claim related to any act or omission from the Petition Date to the
Effective Date in connection with, relating to, or arising out of, the Chapter 11 Cases, in
whole or in part, the Debtors, the formulation, preparation, dissemination, negotiation, of
the Plan, the Disclosure Statement, any contract, instrument, release, or other agreement
or document created or entered into in connection with the Plan, the Disclosure Statement,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan or the distribution of
Cash under the Plan, or any other related agreement, except for Claims or Causes of
Action arising from an act or omission that is judicially determined in a Final Order to
have constituted actual fraud, willful misconduct, or gross negligence, but in all respects,
such Exculpated Parties shall be entitled to the fullest extent permitted by law to
reasonably rely upon the advice of counsel with respect to their duties and responsibilities.
The Exculpated Parties have, and upon Consummation of the Plan, shall be deemed to
have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances
or rejections of the Plan or such distributions made pursuant to the Plan.


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  “Exculpated Parties” means each of the following in their capacity as such: (i) the Debtors; (ii) the Chapter 11
Directors and Officers, (iii) agents, members of management and other employees of the Debtors, in each case who
are or were acting in such capacity on or after the Petition Date; (iv) the UCC and the UCC Members; (v) the EC
and the EC Members; and (vi) all predecessors, successors and assigns, subsidiaries, affiliates, members, partners,
officers, directors, agents, attorneys, advisors, accountants, investment bankers, consultants, and other professionals,
to the extent such parties are or were acting in such capacity of any of the Persons identified in (i), (ii), (iii) (iv), and
(v) above on or after the Petition Date.

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     F.      Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,
HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE VIII.C OR ARTICLE VIII.D OF THE PLAN, (2) SHALL BE
DISCHARGED PURSUANT TO ARTICLE VIII.D OF THE PLAN, OR (3) ARE
SUBJECT TO EXCULPATION PURSUANT TO ARTICLE VIII.E OF THE PLAN, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES (TO THE
EXTENT OF THE RELEASES PROVIDED PURSUANT TO ARTICLE XIII.D WITH
RESPECT TO THE RELEASED PARTIES), OR THE EXCULPATED PARTIES (TO
THE EXTENT OF THE EXCULPATION PROVIDED PURSUANT TO ARTICLE VIII.E
OF THE PLAN WITH RESPECT TO THE EXCULPATED PARTIES):
(I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS
ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS; (IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS
OF CLASS 5 UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION,
OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF
OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH
THE BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THE PLAN
EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY
ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT
TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO THE
PLAN.
     FOR THE AVOIDANCE OF DOUBT, NOTHING IN ARTICLE VIII.F OF THE
PLAN SHALL AFFECT ANY RIGHT OF FOXCONN TO SETOFF OR RECOUP THE
AMOUNT OF ANY ALLOWED CLAIM OR THE AMOUNT OF ANY DISTRIBUTIONS
TO WHICH THEY ARE ENTITLED ON ACCOUNT OF ALLOWED FOXCONN

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PREFERRED STOCK INTERESTS, IF ANY, AND ALL SUCH RIGHTS SHALL BE
FULLY PRESERVED TO THE EXTENT AVAILABLE UNDER APPLICABLE LAW
(AND ANY RIGHT OF THE DEBTORS AND THE POST-REORGANIZED DEBTORS
WITH RESPECT TO THE FOREGOING SHALL ALSO BE PRESERVED).

IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT, THE DEBTOR
RELEASES, EXCULPATION AND INJUNCTION PROVISIONS SET FORTH IN
ARTICLES VIII.C, VIII.E AND VIII.F OF THE PLAN, RESPECTIVELY, WILL BE
BINDING ON HOLDERS OF GENERAL UNSECURED CLAIMS WHETHER OR NOT
THEY ELECT TO OPT IN TO THE RELEASES IN ARTICLE VIII.D OF THE PLAN.

Item 4. Certifications, Acknowledgement, Signature and Date.

      By signing this Ballot, the Holder (or authorized signatory of such Holder) certifies to the
Bankruptcy Court and the Debtors that:

       (i)      it has the power and authority to vote to accept or reject the Plan;

       (ii)     as of the Voting Record Date, either: (i) it is the Holder of the Class 3 General
                Unsecured Claims being voted on this Ballot; or (ii) it is an authorized signatory
                for the Holder of the Class 3 General Unsecured Claims being voted on this
                Ballot;

       (iii)    it has received access to the Disclosure Statement, the Plan and the Solicitation
                Package and acknowledges that the solicitation is being made pursuant to the
                terms and conditions set forth therein;

       (iv)     it has not submitted any other Ballots for other General Unsecured Claims, or if it
                has submitted Ballots for other such Claims, then such Ballots indicate the same
                vote to accept or reject the Plan;

       (v)      it understands and acknowledges that if multiple Ballots are submitted voting the
                Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
                and received by the Solicitation Agent before the Voting Deadline shall be
                deemed to reflect the voter’s intent and thus to supersede and revoke any prior
                Ballots received by the Solicitation Agent;

       (vi)     it acknowledges that a vote to accept the Plan constitutes an acceptance of the
                treatment of such Class 3 General Unsecured Claim;

       (vii)    it acknowledges and understands that (i) if no Holders in a class eligible to vote to
                accept or reject the Plan vote on the Plan, then the Debtors will request at the
                Confirmation Hearing that the Bankruptcy Court deem the Plan accepted by such
                class; and (ii) any Class of Claims or Interests that does not have a Holder of an
                Allowed Claim or Interest or a Claim temporarily allowed by the Bankruptcy
                Court as the date of the Confirmation Hearing shall be deemed eliminated from
                the Plan for purposes of voting to accept or reject the Plan and for purposes of

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         determining acceptance or rejection of the Plan by such Class pursuant to section
         1129(a)(8) of the Bankruptcy Code;

(viii)   it acknowledges and agrees that the Debtors may make conforming changes to the
         Plan to the extent provided by Bankruptcy Rule 3019 as may be reasonably
         necessary; provided that the Debtors will not re-solicit acceptances or rejections
         of the Plan in the event of such conforming changes;

(ix)     all authority conferred or agreed to be conferred pursuant to this Ballot, and every
         obligation of the undersigned hereunder, shall be binding on the transferees,
         successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
         legal representatives of the undersigned, and shall not be affected by, and shall
         survive, the death or incapacity of the undersigned; and

(x)      it understands that an otherwise properly completed, executed, and timely
         returned Ballot failing to indicate either acceptance or rejection of the Plan, or
         indicating both acceptance and rejection of the Plan, will not be counted.

                         [SIGNATURE PAGE FOLLOWS]




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Print or Type Name of Claimant:           __________________________________________


Last Four Digits of Social Security
Number of Claimant:                       __________________________________________


Signature:                                __________________________________________


Name of Signatory (if different than
Claimant):                                __________________________________________


If by Authorized Agent, Title of
Agent:                                    __________________________________________


Street Address:                           __________________________________________


City, State, Zip Code:                    __________________________________________


Telephone Number:                         __________________________________________


Email Address:                            __________________________________________


Date Completed:                           __________________________________________



       IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
        ON OR BEFORE DECEMBER 12, 2023 AT 5:00 P.M. (EASTERN TIME),
                    YOUR VOTE WILL NOT BE COUNTED.

        Ballots must be delivered to the Solicitation Agent (a) at the appropriate address
listed below, or in the enclosed envelope, as applicable, or (b) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by
visiting https://www.kccllc.net/lordstown, and following the instructions set forth on the
website. You are encouraged to submit your Ballot via the E-Ballot Platform. If you
choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.



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           If by E-Ballot Platform:                 If by standard or overnight mail or personal
                                                                      delivery:
     https://www.kccllc.net/lordstown
Click “Submit Electronic Ballot (E-Ballot)”                Lordstown Processing Center
                and use the                           c/o Kurtzman Carson Consultants LLC
        E-ballot ID provided below                    222 N. Pacific Coast Highway, Suite 300
                                                              El Segundo, CA 90245

        To submit your Ballot via the E-Ballot Platform, please                               visit
https://www.kccllc.net/lordstown and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

       Unique E-Ballot ID#: [______________________________________]

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1
of your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID#
you receive, as applicable. Holders of Claims who cast a Ballot using the E-Ballot Platform
should NOT also submit a paper Ballot.

         If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at (877) 709-4757 (U.S./Canada) or (424) 236-7235 (international);
(b) visiting the Debtors’ restructuring website at https://www.kccllc.net/lordstown; (c) writing to
Lordstown Processing Center, c/o Kurtzman Carson Consultants LLC, 222 N. Pacific Coast
Highway, Suite 300, El Segundo, CA 90245 or (d) emailing lordstowninfo@kccllc.com (with
‘Lordstown’ in the subject line).

     Information may also be obtained at https://www.kccllc.net/lordstown. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

       Any admission of Class 3 General Unsecured Claims, for purposes of voting on the Plan,
is not an admission of liability on the part of the Debtors or any other party for payment
purposes.




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                  INSTRUCTIONS FOR COMPLETING THIS BALLOT

To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent at the phone number or email provided above or visit
https://www.kccllc.net/lordstown.

1.     Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
       Platform:

        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your     Ballot    via    the    E-Ballot   Platform,  visit
https://www.kccllc.net/lordstown and follow the instructions to submit your Ballot.

IMPORTANT NOTE: You will need the following information to retrieve and submit your
customized electronic Ballot:

                       Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

        Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1
of your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID#
you receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform should NOT
also submit a paper Ballot.

      Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or
Overnight Mail or Personal Delivery:

        You must return the Ballot in either the enclosed envelope or by standard or overnight
mail or personal delivery to:

                                Lordstown Processing Center
                           c/o Kurtzman Carson Consultants LLC
                             222 N. Pacific Coast Hwy., Suite 300
                                    El Segundo, CA 90245


Ballots received via email, facsimile or other methods will not be counted. The Solicitation
Agent will tabulate all properly completed Ballots received on or before the Voting
Deadline.




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2.   To fill out your Ballot, you must complete the following:

     a.      Item 1. (Amount of Claim). Make sure that the information contained in Item 1
             regarding the principal amount of your General Unsecured Claim you held on the
             Voting Record Date is correct. Please note that, except as otherwise set forth
             in the Disclosure Statement and Disclosure Statement Order, (i) each
             contingent Claim, whether liquidated or unliquidated, or a Claim in a
             wholly-unliquidated, unknown or undetermined amount that is not the
             subject of an objection, will be allowed in the amount of $1.00 for voting
             purposes only, and not for distribution, allowance, or any other purpose.

     b.      Item 2. (Vote on the Plan). Cast one vote to accept or reject the Plan by
             checking the appropriate box in Item 2.

             1.     You must vote the entire amount of your Claim either to accept (i.e., vote
                    in favor of) or reject (i.e., vote against) the Plan and you may not split
                    your vote. Accordingly, any vote within a single Class that attempts
                    partially to accept and partially reject the Plan will not be counted.

             2.     If you hold Claims in more than one class, you may receive more than one
                    Ballot or Solicitation Package, labeled for a different class of Claims.
                    Your vote will be counted in determining acceptance or rejection of the
                    Plan by a particular class of Claims only if you complete, sign, and return
                    the Ballot labeled for such class of Claims in accordance with the
                    instructions on that Ballot.

     c.      Item 3. (Releases). Pursuant to Article VIII.D of the Plan, the Debtors seek
             approval of the release provision set forth in Article VIII.D of the Plan and
             provided above. Holders of Claims and Interests that vote to reject the Plan may
             opt in to this release by checking the box in Item 3.

IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF A GENERAL
UNSECURED CLAIM UNDER THE PLAN, IF YOU VOTE TO ACCEPT THE PLAN,
YOU ARE DEEMED TO PROVIDE THE RELEASES CONTAINED IN ARTICLE
VIII.D OF THE PLAN, AS SET FORTH ABOVE. IF YOU VOTE TO REJECT THE
PLAN, YOU MAY CHECK THE BOX IN ITEM 3 TO OPT IN TO THE RELEASES. IF
YOU DO NOT RETURN THE BALLOT OR ABSTAIN FROM VOTING ON THE
PLAN, YOU WILL NOT BE BOUND BY THE RELEASES.




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d.      Item 4. (Certifications, Acknowledgement, Signature, and Date). Either the
        Holder, the Holder’s personal representative, or the Holder’s attorney must sign
        the Ballot. If the Ballot is not signed, the vote shown on the Ballot will not be
        counted.

        1.     Holders with Social Security Numbers must provide the last four digits of
               their Social Security Number in Item 4 of the Ballot.

        2.     The Holder, the Holder’s personal representative, or the Holder’s attorney
               must certify certain information on the Ballot.          Please read the
               certifications below and ensure that the information on the Ballot meets
               the requirements of those certifications.

        3.     By signing the Ballot, you make the following certifications on
               information and belief:

               (A)    as of the Voting Record Date, either: (i) you are the Holder of the
                      Class 3 General Unsecured Claims being voted on this Ballot; or
                      (ii) you are an authorized signatory for the Holder of the Class 3
                      General Unsecured Claims being voted on this Ballot;

               (B)    that you have received access to the Disclosure Statement, the Plan
                      and the Solicitation Package and acknowledge that the solicitation
                      is being made pursuant to the terms and conditions set forth
                      therein;

               (C)    you have not submitted any other Ballots for other General
                      Unsecured Claims, or if you have submitted Ballots for other such
                      Claims, then such Ballots indicate the same vote to accept or reject
                      the Plan;

               (D)    that you understand and acknowledge that if multiple Ballots are
                      submitted voting the Claim set forth in Item 1, only the last
                      properly completed Ballot voting the Claim and received by the
                      Solicitation Agent before the Voting Deadline shall be deemed to
                      reflect the your intent and thus to supersede and revoke any prior
                      Ballots received by the Solicitation Agent;

               (E)    that you acknowledge that a vote to accept the Plan constitutes an
                      acceptance of the treatment of such Class 3 Claim and to be a
                      Releasing Party under the Plan;

               (F)    that you acknowledge and understand that (i) if no holders in a
                      class eligible to vote to accept or reject the Plan vote on the Plan,
                      then the Debtors will request at the Confirmation Hearing that the
                      Bankruptcy Court deem the Plan accepted by such class; and (ii)
                      any Class of Claims or Interests that does not have a Holder of an

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                     Allowed Claim or Interest or a Claim temporarily allowed by the
                     Bankruptcy Court as the date of the Confirmation Hearing shall be
                     deemed eliminated from the Plan for purposes of voting to accept
                     or reject the Plan and for purposes of determining acceptance or
                     rejection of the Plan by such Class pursuant to section 1129(a)(8)
                     of the Bankruptcy Code;

              (G)    that you acknowledge and agree that the Debtors may make
                     conforming changes to the Plan to the extent provided by
                     Bankruptcy Rule 3019 as may be reasonably necessary; provided
                     that the Debtors will not re-solicit acceptances or rejections of the
                     Plan in the event of such conforming changes;

              (H)    all authority conferred or agreed to be conferred pursuant to this
                     Ballot, and every obligation of the undersigned hereunder, shall be
                     binding on the transferees, successors, assigns, heirs, executors,
                     administrators, trustees in bankruptcy, and legal representatives of
                     the undersigned, and shall not be affected by, and shall survive, the
                     death or incapacity of the undersigned; and

              (I)    that you understand that an otherwise properly completed,
                     executed, and timely returned Ballot failing to indicate either
                     acceptance or rejection of the Plan, or indicating both acceptance
                     and rejection of the Plan, will not be counted.

e.      Other Instructions for Completing Ballots.

        1.    To the extent you have received two (2) or more duplicative ballots on
              account of the same Claim or Interest, please note that each claimant is
              authorized to submit only one Ballot on account of such Claim or Interest.

        2.    There may be changes made to the Plan that do not cause material adverse
              effects on an accepting Class. If such non-material changes are made to
              the Plan, the Debtors will not resolicit votes for acceptance or rejection of
              the Plan.

        3.    The Ballot does not constitute, and shall not be deemed to be, a Proof of
              Claim or interest or an assertion or admission of a Claim or Interest.

        4.    The Ballot is not a letter of transmittal and may not be used for any
              purpose other than to vote to accept or reject the Plan.

        5.    If you cast more than one Ballot voting the same Claim or Interest prior to
              the Voting Deadline, the latest received, properly executed Ballot
              submitted to the Solicitation Agent and received by the Solicitation Agent
              before the Voting Deadline will supersede and revoke any prior Ballot,
              provided that, if both a paper Ballot and electronic Ballot are submitted

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                 timely on account of the same General Unsecured Claim(s), the electronic
                 Ballot shall supersede and revoke the paper Ballot.

           6.    In the event that (i) the Debtors revoke or withdraw the Plan, or (ii) the
                 Confirmation Order is not entered or consummation of the Plan does not
                 occur, this Ballot shall automatically be null and void and deemed
                 withdrawn without any requirement of affirmative action by or notice to
                 you.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS MAILED WITH THIS BALLOT OR OTHER MATERIALS
AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, RECEIVED A
DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR NEED ADDITIONAL
COPIES OF THE BALLOT OR OTHER MATERIALS, PLEASE CONTACT THE
SOLICITATION AGENT AT:

TELEPHONE: (877) 709-4757 (U.S./CANADA) OR (424) 236-7235 (INTERNATIONAL)

EMAIL: LORDSTOWNINFO@KCCLLC.COM

WEBSITE: HTTPS://WWW.KCCLLC.NET/LORDSTOWN




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